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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:23-cv-01610-DDD-MDB

SUSAN DEHERRERA, and
JOSE GUERRERO,

       Plaintiffs,

v.

HUERFANO COUNTY, a municipality,
JEFF BENSMAN, in his individual capacity,
TERRY SANDOVAL, in his individual capacity,
SAM JENSEN, in his individual capacity,

       Defendants.


                           AFFIDAVIT OF TERRY SANDOVAL


STATE OF COLORADO  )
                   ) ss
COUNTY OF HUERFANO )

       1.      I began my employment as Huerfano County (“County”) Chief Building Inspector

in January 2019. I voluntarily resigned my position with the County in February 2023.

        2.     As Chief Building Inspector, I had no supervisory responsibility over County Code

Enforcement Officer Jeff Bensman. As County Building Inspector, I had no reporting obligations

to Mr. Bensman.

       3.      On July 13, 2021, I received a complaint from the County Health Department

regarding the improper installation of a cistern/well on a 160-acre undeveloped parcel of property

bearing the following legal description: TWP 28S RNG 67W SEC 14: SW4160 AC MOL 276-

228 264-86 359-964 364-819 361324 361326 380277 396620 399754 418652 418653 419731

419732 426396 426397 (“property”).



                                          EXHIBIT A
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       4.       In response to the complaint, I drove a white County vehicle out to the property.

       5.       When I arrived at the property, I saw two Water Works Plus trucks, one of which

was equipped with a crane, two Water Works Plus employees, a large dirt pile and two RVs/trailers

in the distance.

       6.       I parked my County vehicle near the end of the dirt pile.

       7.       I was unarmed at the time.

       8.       Mr. Bensman parked his vehicle behind my vehicle.

       9.       After Mr. Bensman walked up to my vehicle, I got out of my vehicle. At that point,

we were both met by Plaintiff Jose Guerrero.

       10.         I attempted to speak to Mr. Guerrero; however, he began yelling at us to get off

the property.

       11.      I advised Mr. Guerrero that I was the Building Inspector and had the right to be on

the property.

       12.      I briefly spoke to Plaintiff Susan DeHerrera a short time later and advised her that

I had received a complaint from the County Health Department.

       13.      I then briefly spoke to the Water Works Plus employees before leaving the property.

       14.      I did not enter Plaintiffs’ RV during my short visit to the property.

       15.      I never approached Plaintiffs’ RV, which was approximately forty feet away from

where I spoke to Plaintiffs and the Water Works Plus employees, during my short visit to the

property.

       16.      I did not engage in any physical force during my short visit to the property.




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